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      IT IS ORDERED as set forth below:



      Date: December 10, 2020
                                                            _________________________________

                                                                     Barbara Ellis-Monro
                                                                U.S. Bankruptcy Court Judge

     ________________________________________________________________
                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


 IN RE:                                           :          CASE NO. 09-61855-BEM
                                                  :
 TODD ANTHONY SHAW,                               :          CHAPTER 7
                                                  :
       Debtor.                                    :
 ____________________________________             :

                         ORDER GRANTING MOTION FOR
                AUTHORITY TO MAKE SECOND INTERIM DISTRIBUTION

          On November 9, 2020, S. Gregory Hays, Chapter 7 Trustee for Todd Anthony Shaw

 (“Trustee”), filed a Motion for Authority to Make Second Interim Distribution [Doc. No. 189]

 (the “Motion”), seeking authority to make interim distributions to certain creditors based on the

 Interim Distribution Analysis attached to the Motion.1

          On November 10, 2020, Trustee filed a Notice of Pleading, Deadline to Object, and for

 Hearing [Doc. No. 193] (the “Notice”), in accordance with General Order No. 24-2018, and




 1
          Terms not defined in this Order shall have the meanings ascribed to them in the Motion.


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 setting a hearing on the Motion on December 8, 2020 (the “Hearing”). Counsel for Trustee

 asserts that he served the Notice on all requisite parties in interest. [Doc. No. 196].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

 procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

 objection deadline provided in the Notice.

         Counsel for Trustee appeared at the calendar call for the Hearing. No creditors or parties

 in interest appeared.

         The Court having considered the Motion and all other matters of record, including the

 lack of objection to the relief requested in the Motion; and, the Court having found that good

 cause exists to grant the relief requested in the Motion, it is hereby

         ORDERED that the Motion is GRANTED. It is further

         ORDERED that Trustee is authorized to make the interim distributions to the creditors

 identified in the Interim Distribution Analysis in the amounts set forth in the Interim Distribution

 Analysis.

                                      [END OF DOCUMENT]


 Order prepared and presented by:

 ARNALL GOLDEN GREGORY LLP
 Attorneys for Trustee

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 Identification of parties to be served:

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